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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK, et al.,

                  Plaintiffs,

          v.
                                                             Civil Action No. 1:25-cv-00196
  ROBERT F. KENNEDY, JR., in his official
  capacity as SECRETARY OF THE U.S.
  DEPARTMENT OF HEALTH & HUMAN
  SERVICES, et al.,

                  Defendants.


                    JOINT MOTION TO VACATE ANSWER DEADLINE
                    AND SET DEADLINE FOR JOINT STATUS REPORT

        The Court has calendared a deadline of July 7, 2025, for Defendants to answer the

 complaint in this matter. For good cause, and to allow the parties time to confer about an efficient

 path forward after the Court issues a decision on Plaintiffs’ currently pending preliminary-

 injunction motion, the parties respectfully request that the July 7 deadline be vacated. In its place,

 the parties respectfully request that after the Court rules on Plaintiffs’ preliminary-injunction

 motion, a Joint Status Report deadline be calendared for two weeks after the date of the ruling.

 Counsel for the parties have met and conferred regarding this relief. No party will be prejudiced

 by the requested change to the schedule, and the parties will promptly confer and propose deadlines

 for next steps in the case in the Joint Status Report.
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 Dated: June 23, 2025

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